                      Case 8:21-cr-00501-TDC Document 1 Filed 06/16/21 Page 1 of 1-&&LE86$25
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                    ____ FILED ___ ENTERED
                                                                                                                     ____ LOGGED _____ RECEIVED
                                                                for the
                                                     DistrictDistrict
                                                __________    of Maryland
                                                                      of __________                               2:42 pm, Jun 16 2021
                                                                                                                     AT GREENBELT
                                                                                                                     CLERK, U.S. DISTRICT COURT
                  United States of America                         )
                                                                                                                     DISTRICT OF MARYLAND
                             v.                                    )                                                     TTS
                                                                                                                     BY ______________Deputy
                                                                   )      Case No.      21-mj-1807-TJS
                      Jason Daniel Ort                             )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 December 30, 2019              in the county of               Charles                 in the
                       District of           Maryland          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 USC 2251(a)                                 Production of Child Pornography
18 USC 2252A(a)(5)(B)                          Possession of Child Pornography




         This criminal complaint is based on these facts:
See the attached Affidavit of Special Agent Jonathan Stewart, FBI.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                    Jonathan Stewart, Special Agent, FBI
                                                                                               Printed name and title

Sworn to before me RYHUWKHWHOHSKRQHDQGVLJQHGE\PHSXUVXDQWWR)HG5&ULP3DQG G 


Date:      June 16, 2021
                                                                                                 Judge’s signature

City and state:                         Greenbelt, MD                          Hon. Timothy J. Sullivan, U.S. Magistrate Judge
                                                                                               Printed name and title
